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                                                      Legacy Insurance Solutions LLC and
                    SANTA MONICA, CA 90401




                                                   13 Bradley Tierney
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                                                   14
                                                                            UNITED STATES DISTRICT COURT
                                                   15
                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                   16
                                                   17 LEGACY     INSURANCE SOLUTIONS
                                                      LLC, a California limited liability
                                                                                                  Case No. 2:20-CV-04097-AS

                                                   18 company,  and BRADLEY TIERNEY, an
                                                      individual,
                                                                                                  Magistrate Judge Alka Sagar

                                                   19                                             NOTICE OF MOTION AND
                                                                   Plaintiffs,                    MOTION FOR REMAND TO
                                                   20                                             STATE COURT;
                                                                v.                                MEMORANDUM OF POINTS
                                                   21 ABS HEALTHCARE SERVICES, LLC,               AND AUTHORITIES IN
                                                                                                  SUPPORT THEREOF
                                                   22 aHEALTH
                                                         Florida limited liability company, and
                                                                  OPTION ONE, LLC, a Florida      [Declarations of Bradley Tierney,
                                                       limited liability company, and DOES 1
                                                   23 through 20, inclusive,                      Adam Beeman and Frank Gooch III;
                                                                                                  and [Proposed] Order filed
                                                   24                                             concurrently herewith]
                                                                     Defendants.                  Hearing Date: June 4, 2020
                                                   25                                             Time:         10:00 a.m.
                                                   26                                             Courtroom:    540

                                                   27                                             Removal Filed:      May 4, 2020
                                                                                                  State Court Filing: April 23, 2020
                                                   28

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                                                    1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                    2           PLEASE TAKE NOTICE that on June 4, 2020, at 10:00 a.m., in Courtroom
                                                    3 540 of the Roybal Federal Building located at 255 E. Temple Street, Los Angeles,
                                                    4 California 90012, before Magistrate Judge Alka Sagar, Plaintiffs, Bradley Tierney
                                                    5 (“Tierney”) and Legacy Insurance Solutions LLC (“Legacy Insurance”)
                                                    6 (collectively, “Plaintiffs”) hereby will move, and hereby do move, the Court for an
                                                    7 order remanding this action to state court. This action is based on Defendants’
                                                    8 objectionably baseless petition for removal of this action under 28 U.S.C. § 1332
                                                    9 from the Superior Court of California, County of Los Angeles, Case No.
                                                   10 20SMCV00617. This Court, however, lacks subject matter jurisdiction over this
                                                   11 action because there is not complete diversity between the Plaintiffs and the
                                                   12 Defendants. Specifically, one of Legacy Insurance’s members is a citizen of Florida
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                    SANTA MONICA, CA 90401




                                                   13 as are Defendants’ members. See Johnson v. Columbia Props. Anchorage, LP, 437
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                                                   14 F.3d 894, 899 (9th Cir. 2006) (“an LLC is a citizen of very state of which its
                                                   15 owners/members are citizens”).
                                                   16           Plaintiffs also request an order under 28 U.S.C. § 1447(c) requiring the
                                                   17 Defendants to pay the attorneys’ fees it incurred as a result of the removal, including
                                                   18 but not limited to those incurred in connection with this motion, and retaining
                                                   19 jurisdiction to determine the amount of those costs and fees.
                                                   20           This motion is made following a conference of counsel pursuant to Local
                                                   21 Rule 7-3, which took place on May 5 and 6, 2020. See Gooch Decl. ¶ 2. This motion
                                                   22 is based on this notice of motion and motion; the attached memorandum of points
                                                   23 and authorities; the concurrently-filed Declarations of Frank Gooch III, Bradley
                                                   24 Tierney, and Adam Beeman; Plaintiffs’ Ex Parte Application for Temporary
                                                   25 Restraining Order and for Order to Show Cause Why A Preliminary Injunction
                                                   26 Should Not Be Issued which was filed in the state court action prior to Defendants’
                                                   27 improper removal; and all pleadings and records on file with the Court in this case.
                                                   28

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                                                    1 Dated: May 7, 2020                 COZEN O'CONNOR
                                                    2
                                                    3                                    By: ___/s/ Frank Gooch III
                                                                                             Frank Gooch III
                                                    4                                        Attorneys for Plaintiffs
                                                                                             Legacy Insurance Solutions LLC and
                                                    5                                        Bradley Tierney
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                                                    1                      MEMORANDUM OF POINTS AND AUTHORITIES
                                                    2 I.        INTRODUCTION
                                                    3           This Court lacks subject matter jurisdiction over this action because there is
                                                    4 not complete diversity between the plaintiffs and defendants in this action. Under
                                                    5 binding Ninth Circuit precedent, a limited liability is a citizen of every state of
                                                    6 which its owners/members are citizens. Additionally, there must be complete
                                                    7 diversity for this Court to have subject matter jurisdiction over this action. Here,
                                                    8 complete diversity is lacking because a member of Plaintiff Legacy Insurance is a
                                                    9 citizen of Florida as are the members of Defendant ABS Healthcare Services, LLC,
                                                   10 and Defendant Health Option One, LLC. Accordingly, as this Court lacks subject
                                                   11 matter jurisdiction over this matter, the Court should promptly remand the action
                                                   12 back to the California Superior Court.
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                                                   13           Furthermore, Plaintiffs respectfully submit that this Court should retain
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                                                   14 jurisdiction to award Plaintiffs their costs and attorney’s fees incurred as a result of
                                                   15 Defendants’ improper removal. As explained below, Defendants’ grounds for
                                                   16 removal are objectively unreasonable. Moreover, even though a finding of bad faith
                                                   17 is not necessary to award such costs and fees, here it is clear from the timing of
                                                   18 Defendants’ filing of their notice of removal that Defendants filed their notice of
                                                   19 removal in bad faith as a tactic to delay Plaintiffs’ ability to seek interim relief
                                                   20 pending trial in this action. Plaintiffs’ application for a temporary restraining order
                                                   21 was set to be heard on May 6, 2020. Defendants filed their notice of removal on
                                                   22 May 4.
                                                   23 II.       BACKGROUND FACTS
                                                   24           Defendants, through unlawful, unfair, or fraudulent business practices, are
                                                   25 seeking to do that which the COVID-19 pandemic could not do—restrain Tierney
                                                   26 from engaging in the lawful profession of his choosing and force Legacy Insurance
                                                   27 to cease business operations. Specifically, Defendants are seeking to enforce a
                                                   28 purported contract that would restrain Tierney from competing with Defendants

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                                                    1 despite California’s strong public policy against the enforcement of restrictive
                                                    2 covenants as a matter of law. Defendants’ conduct, however, is even more
                                                    3 egregious than simply trying to enforce a void contract. Here, it is disputed that the
                                                    4 purported contract was ever enforceable as Defendants never compensated Tierney
                                                    5 as they represented they would in the purported contract and Tierney has no
                                                    6 recollection of signing the purported agreement or ever working as an agent for
                                                    7 Defendants. Moreover, even if the agreement was executed based on some indirect
                                                    8 business relationship that Tierney may have had with Defendants in early 2016, that
                                                    9 relationship ended more than three years ago. As such, the illegal post-termination
                                                   10 restrictive covenants in that purported agreement ended long ago.
                                                   11           Tierney has been selling insurance related products in California since 2017
                                                   12 on behalf of entities other than Defendants and has been doing so as the registered
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                                                   13 agent for Legacy Insurance for over a year. However, in early April 2020,
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                                                   14 Defendants sent Plaintiffs a letter claiming that Tierney was in breach of the
                                                   15 covenant that prohibited him from selling insurance and related products on behalf
                                                   16 of anyone other than Defendants. Shortly, thereafter Defendants sued Kratos
                                                   17 Investments, LLC (“Kratos)—the company on whose behalf Plaintiffs had been
                                                   18 selling products—alleging, inter alia, that Kratos was tortiously interfering with
                                                   19 Defendants’ contract with Tierney because Tierney was only allowed to sell on
                                                   20 behalf of Defendants.
                                                   21           It was these actions by Defendants that led Plaintiffs to file this instant action
                                                   22 in the Superior Court for the County of Los Angeles for state law claims of unfair
                                                   23 competition pursuant to California’s Unfair Competition Law (Bus. & Prof. Code §
                                                   24 17200); unfair competition pursuant to common law and declaratory relief pursuant
                                                   25 to Civ. Proc. Code § 1060 and California Business and Professions Code § 16600.
                                                   26 Plaintiffs merely seek to be able to engage in the profession of their choosing
                                                   27 without unfair competition in the form of unlawful restraints on trade by
                                                   28 Defendants.

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                                                    1           Threatening Plaintiffs and suing the entity on whose behalf Plaintiffs
                                                    2 currently sell products was not enough for Defendants. They were determined to do
                                                    3 everything they could to restrain Tierney from working in his chosen profession.
                                                    4 When Kratos did not immediately terminate its relationship with Plaintiffs,
                                                    5 Defendants next went to the association whose memberships and promoted
                                                    6 insurance-related products are sold by Defendants, Kratos, and, up until recently,
                                                    7 Plaintiffs—and coerced that association to blacklist Tierney from selling association
                                                    8 memberships and related programs. As a result of the association’s termination of
                                                    9 Tierney, Kratos was forced to end its business relationship with Plaintiffs solely for
                                                   10 that reason.
                                                   11           As almost all of Plaintiffs’ business had been on behalf of Kratos, Legacy
                                                   12 Insurance has been effectively shut down and Tierney has been restrained from
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                                                   13 engaging in his chosen profession. As a result, Legacy Insurance is currently not in
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                                                   14 a position to keep its twenty-three employees and independent contractors on its
                                                   15 payroll. With each passing day, the damages caused by Defendants’ unlawful
                                                   16 conduct become more irreversible.
                                                   17           As such, Plaintiffs filed an Ex Parte Application for a Temporary Restraining
                                                   18 Order and for Order to Show Cause Why a Preliminary Injunction Should Not Be
                                                   19 Issued with the California State Court seeking interim relief pending trial in this
                                                   20 action. A true and accurate copy of Plaintiff’s application for a temporary
                                                   21 restraining order is attached hereto as Exhibit “1” to the Gooch Decl. The
                                                   22 application was set to be heard on May 6, 2020 at 8:30 a.m.
                                                   23           On May 4, 2020, Defendants removed the state court action to this Court by
                                                   24 filing of a Notice of Removal. See [D.E. 1]. Defendants claimed in their Notice of
                                                   25 Removal to Federal Court that they removing the action to federal court “on the
                                                   26 basis of diversity of citizenship under 28 U.S.C. § 1332(a), 1441, and 1446.” See id.
                                                   27 at 1:8-10. Despite the fact that Legacy Insurance is a limited liability company and
                                                   28 despite the fact that Defendants have the burden of showing that the case meets the

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                                                    1 statutory requirements for the exercise of federal jurisdiction, Defendants did not
                                                    2 include any allegations in their Notice of Removal regarding the citizenship of the
                                                    3 members of Legacy Insurance.
                                                    4           Had Defendants done so, it would be evident on the face of the Notice of
                                                    5 Removal that this court lacks subject matter jurisdiction because one of Legacy
                                                    6 Insurance’s members is a citizen of Florida as are Defendants’ members. See
                                                    7 Tierney Decl. ¶¶ 2-4; Beeman Decl. ¶¶ 1-5; [D.E. 1] at 1:24-26 (stating that
                                                    8 Defendants’ members are citizens of Florida). Since the plaintiffs and defendants
                                                    9 are not completely diverse, this Court lacks subject matter jurisdiction and this
                                                   10 action should be remanded back to the Superior Court for the State of California.
                                                   11 III.      LEGAL ARGUMENT
                                                   12           “The party asserting federal jurisdiction has the burden of showing the case
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                                                   13 meets the statutory requirements for the exercise of federal jurisdiction and therefore
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                                                   14 belongs in federal court.” Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 399 (9th
                                                   15 Cir. 2010). In order for a court to have diversity jurisdiction under 28 U.S.C. §
                                                   16 1332, the parties must be completely diverse. See Exxon Mobil Corp. v. Allapattah
                                                   17 Servs., Inc., 545 U.S. 546, 553 (2005) (“[T]he presence ... of a single plaintiff from
                                                   18 the same [s]tate as a single defendant deprives the district court of original diversity
                                                   19 jurisdiction.”). To establish citizenship for diversity purposes, a limited liability
                                                   20 company (“LLC”) is a citizen of every state in which its members are citizens.
                                                   21 Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006)
                                                   22 (“[L]ike a partnership, an LLC is a citizen of every state of which its
                                                   23 owners/members are citizens.”) (emphasis added). Thus, because Defendants assert
                                                   24 the Court’s diversity jurisdiction, the parties must be completely diverse for this this
                                                   25 Court to have subject matter jurisdiction over this action.
                                                   26           To establish whether removal in a case is proper, courts should “strictly
                                                   27 construe the removal statute against removal jurisdiction.” Gaus v. Miles, Inc., 980
                                                   28 F. 2d 564, 566 (9th Cir. 1992). “Federal jurisdiction must be rejected if there is any

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                                                    1 doubt as to the right of removal in the first instance.” Id. “The strong presumption
                                                    2 against removal jurisdiction means that the defendant always has the burden of
                                                    3 establishing that removal is proper.” Id. (internal quotations and citation omitted).
                                                    4        Here, Defendants cannot meet this burden since one of the members of
                                                    5 Legacy Insurance is a resident of Florida as are the members of Defendant LLCs.
                                                    6 Accordingly, this action should be promptly remanded back to the state court.
                                                    7        A.     Remand in This Case Is Necessary Because the Court Has No
                                                    8               Subject Matter Jurisdiction over This Action as Plaintiff Legacy
                                                    9               Insurance and Defendants Are Not Diverse.
                                                   10        In their Notice of Removal, Defendants purported to remove this action based
                                                   11 solely on “diversity of citizenship under 28 U.S.C. § 1332(a).” [D.E. 1]. As such,
                                                   12 Defendants must establish that there is complete diversity of citizenship between
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                                                   13 Plaintiffs and Defendants. Defendants have not, and cannot, meet this burden,
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                                                   14 because such complete diversity is lacking.
                                                   15        In their Notice of Removal, Defendants represent that their members are
                                                   16 citizens of Florida.1 [D.E. 1] at 3:22-26. Defendants do not allege the citizenship of
                                                   17 any of Legacy Insurance’s members, but rather only include a conclusory allegation
                                                   18 that “Legacy [Insurance] is a citizen of California.” Id. at 1:20. Not only are
                                                   19 Defendants’ allegations insufficient to meet their heavy burden of establishing
                                                   20 diversity jurisdiction, but these conclusory allegations are inaccurate. Legacy
                                                   21 Insurance has two members, Plaintiff Tierney and Adam Beeman. Tierney Decl. ¶
                                                   22 2; Beeman Decl. ¶ 2. While Tierney is a citizen of California, Mr. Beeman is a
                                                   23 citizen of Florida. Beeman Decl. ¶ 3, Ex 1 at ¶ 10. Since Mr. Beeman is a citizen of
                                                   24 Florida, so is Legacy Insurance. See Johnson, 437 F.3d at 899 (“[A]n LLC is a
                                                   25 citizen of every state of which its owners/members are citizens.”). Accordingly,
                                                   26
                                                        1
                                                        Defendants also allege that each defendant was “incorporated in Florida.” This
                                                   27 appears to be a scrivener’s error, however, as Defendants represent that they are
                                                      unincorporated Florida limited liability companies. Presumably, Defendants meant
                                                   28 that they were formed under the laws of Florida. This error is harmless because
                                                      Defendants would be citizens of Florida even if incorporated.
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                                                    1 since both Legacy Insurance and Defendants are citizens of Florida, this Court lacks
                                                    2 original diversity jurisdiction over the entire action. See Exxon Mobil, 545 U.S. at
                                                    3 553 (“[T]the presence in the action of a single plaintiff from the same State as a
                                                    4 single defendant deprives the district court of original diversity jurisdiction over the
                                                    5 entire action.”).
                                                    6           Accordingly, as this Court lacks subject matter jurisdiction over the entire
                                                    7 action, the Court should remand this case back to the Superior Court of the State of
                                                    8 California. See 28 U.S.C. § 1447(c) (“If at any time before final judgment it appears
                                                    9 that the district court lacks subject matter jurisdiction, the case shall be remanded.”).
                                                   10           B.         The Court Should Award Plaintiffs Their Attorneys’ Fees and
                                                   11                      Costs Incurred as a Result of This Removal.
                                                   12           Defendants should have to pay Plaintiffs’ costs incurred for this frivolous
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                                                   13 removal, including attorney’s fees. Governing law authorizes courts to award
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                                                   14 “payment of just costs and any actual expenses, including attorney fees, incurred as
                                                   15 a result of the removal.” 28 USC § 1447(c). In deciding whether to award fees, the
                                                   16 key factor is the propriety of the removal, namely whether the “removing party has
                                                   17 an objectively reasonable basis for removal.” Martin v. Franklin Capital Corp., 546
                                                   18 U.S. 132, 135 (2005). The purpose of assessing fees and costs upon remand is to
                                                   19 reduce the use of removal to delay litigation. See id.
                                                   20           Given the timing of the removal to this Court, shortly before a May 6 hearing
                                                   21 on Plaintiffs’ Ex Parte Application for a Temporary Restraining Order and for Order
                                                   22 to Show Cause Why a Preliminary Injunction Should Not Be Issued, and
                                                   23 Defendants’ subsequent conduct after being informed that Mr. Beeman is a member
                                                   24 of Legacy Insurance, there can be no doubt that Defendants’ removal is purely a
                                                   25 delay tactic. Here, Defendants’ removal is not just objectively unreasonable, but it
                                                   26 was subjectively unreasonable as well. Cf. Moore v. Permanente Med. Group, Inc.,
                                                   27 981 F.2d 443, 448 (9th Cir. 1992) (bad faith need not be demonstrated to award
                                                   28 attorney’s fees pursuant to section 1447(c)).

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                                                    1        First, it is well settled law based on Ninth Circuit precedent that in
                                                    2 establishing citizenship for diversity purposes, a limited liability company is a
                                                    3 citizen of every state in which its members are citizens. See Johnson, LP, 437 F.3d
                                                    4 at 899 (cited more than 1000 times for this proposition); Peck v. Swift Transp. Co.
                                                    5 Arizona, LLC, 2017 WL 5515842, at *4 (C.D. Cal. Nov. 16, 2017) (“Removal is not
                                                    6 objectively reasonable when relevant case law at the time clearly forecloses the
                                                    7 removing party’s asserted basis for removal.”).
                                                    8        Yet, despite this well-settled law, Defendants do not allege the citizenship of
                                                    9 Legacy Insurance’s members anywhere in their Notice of Removal to Federal Court.
                                                   10 Rather, they simply allege that Legacy Insurance is “a California limited liability
                                                   11 company with its principal place of business in Los Angeles, California,” and that
                                                   12 “Legacy [Insurance] is a citizen of California.” To be objectively reasonable,
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                                                   13 Defendants would have at least attempted to allege the identify and citizenship of all
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                                                   14 of Legacy Insurance’s members.2
                                                   15        Defendants’ Notice and subsequent conduct further establish that the
                                                   16 improper removal was not only objectively unreasonable, but was also done in bad
                                                   17 faith. First, it is clear that Defendants’ counsel was aware of the well-established
                                                   18 law that a limited liability company is a citizen of every state which its
                                                   19 owners/members are citizens. Notably, rather than alleging that Defendants are
                                                   20 “citizens” of a state as they did for Legacy Insurance, each Defendant alleged that
                                                   21 “its members are citizens of Florida.” Compare [D.E. 1] at 1:20 (alleging that
                                                   22 Legacy Insurance “is a citizen of California”), with 1:24-26 (alleging for each
                                                   23 Defendant, the citizenship of its members). This difference appears to be intentional
                                                   24 wordplay by Defendants to conceal the fact they either knew that Legacy Insurance
                                                   25 was also a citizen of Florida, or at least knew that they were obligated to investigate
                                                   26 further before removing this action from state court.
                                                   27
                                                        2
                                                        To the extent that such information was not publicly available, an objectively
                                                   28 reasonable defendant would have reached out to Legacy Insurance’s counsel
                                                      requesting information as to the citizenship of Legacy Insurance’s members.
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                                                    1           The timing of Defendants’ removal as well as Defendants’ subsequent
                                                    2 conduct further support a conclusion that Defendants’ removal was done as bad-
                                                    3 faith delay tactic. First, Defendants cannot defend their improper removal on the
                                                    4 grounds that they did not know that one of Legacy Insurance’s members was a
                                                    5 citizen of Florida. Pursuant to 28 U.S.C. § 1446(a), a notice of removal must be
                                                    6 signed pursuant to Rule 11 of the Federal Rules of Civil Procedure. Rule 11, in
                                                    7 turn, requires that the attorney signing a paper conduct a reasonable inquiry under
                                                    8 the circumstances. See Fed. R. Civ. P. 11(b) (requiring an attorney to certify that the
                                                    9 information and belief stated in a document were “formed after an inquiry
                                                   10 reasonable under the circumstances”). That is, 28 U.S.C. § 1146(a) and Rule 11 do
                                                   11 not permit an attorney to shoot first and ask questions later. At best, this is what
                                                   12 Defendants did here.
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                    SANTA MONICA, CA 90401




                                                   13           Defendants acknowledge that they were served with the California complaint
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                                                   14 on April 24, 2020. Thus, they had until May 24, 2020 to determine whether there
                                                   15 were grounds for federal jurisdiction over this action. If they were unable to
                                                   16 ascertain the citizenship of Legacy Insurance’s members from public records, they
                                                   17 could have simply asked Legacy Insurance’s counsel of record. They did not do so
                                                   18 prior to filing their notice of removal on May 4—more than 20 days before the
                                                   19 deadline to do so.
                                                   20           Notably, Defendants filed their notice of removal less than two days before
                                                   21 the time set for the state court to hear Plaintiffs’ Ex Parte Application for a
                                                   22 Temporary Restraining Order and for Order to Show Cause Why a Preliminary
                                                   23 Injunction Should Not Be Issued, thus precluding Plaintiffs from the opportunity to
                                                   24 obtain interim relief and protect themselves from the great and irreparable harm that
                                                   25 Defendants are causing Plaintiffs through Defendants’ wrongful actions.
                                                   26           Furthermore, when Plaintiffs’ counsel informed Defendants’ counsel that they
                                                   27 had improperly removed the case and provided them with evidence that one of
                                                   28 Plaintiffs’ members was a citizen of Florida, Defendants not only refused to

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                                                    1 stipulate to remanding this action, but then contended (1) that Plaintiffs and their
                                                    2 counsel were lying about the members of Legacy Insurance, (2) that Defendants
                                                    3 were entitled to discovery prior to remand, including depositions, to prove Plaintiffs
                                                    4 were lying, and (3) that Legacy Insurance was fraudulently joined as a Plaintiff to
                                                    5 defeat diversity. See Gooch Decl. Ex. “2”. Notably, Defendants did not allege
                                                    6 fraudulent joinder as a potential grounds for removal in their Notice of Removal.
                                                    7 Defendants never made any such claim in their notice of removal because Legacy
                                                    8 Insurance is plainly a proper plaintiff in this action. Tierney is an agent of record
                                                    9 for Legacy Insurance, and Defendants, through unlawful and unfair practices, are
                                                   10 trying to restrict Tierney’s right to sell insurance. As such, Defendants’ unpled
                                                   11 contention of fraudulent joinder is further evidence that Defendants sole objective
                                                   12 with this removal is to delay Plaintiffs from obtaining relief to which they are
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                                                   13 entitled.
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                                                   14           Under these circumstances, Defendants’ filing of a notice of removal without
                                                   15 any investigation can only be viewed as a bad faith litigation tactic warranting the
                                                   16 imposition of costs and expenses, including attorney’s fees, under 28 USC §
                                                   17 1447(c). Accordingly, Plaintiffs request that the Court retain jurisdiction to award
                                                   18 costs and fees under 28 U.S.C. § 1447(c) after remanding the matter to the Superior
                                                   19 Court of the State of California so as to avoid any further delays in this action. See
                                                   20 Moore, 981 F.2d at 448 (“[B]ecause the award of attorney’s fees pursuant to 28
                                                   21 U.S.C. § 1447(c) is collateral to the decision to remand, the district court retained
                                                   22 jurisdiction after remand to entertain Plaintiffs’ motion for attorney’s fees.”).
                                                   23 IV.       PLAINTIFFS’ COUNSEL HAS MET AND CONFERRED WITH
                                                   24           DEFENDANTS’ COUNSEL.
                                                   25           Pursuant to Local Rule 7-3, this motion is made following the conference of
                                                   26 counsel pursuant to Local Rule 7-3, which took place on May 5 and 6, 2020.
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                                                    1 V.        CONCLUSION
                                                    2           For the foregoing reasons, Plaintiffs respectfully request that the Court remand
                                                    3 the matter to state court and retain jurisdiction to award Plaintiffs their attorney’s fees
                                                    4 and costs in bringing this motion.
                                                    5
                                                    6 Dated: May 7, 2020                        COZEN O'CONNOR
                                                    7
                                                    8                                           By: ___/s/ Frank Gooch III
                                                                                                    Frank Gooch III
                                                    9                                               Attorneys for Plaintiffs
                                                                                                    Legacy Insurance Solutions LLC and
                                                   10                                               Bradley Tierney
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